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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 LUCASYS INC.,
                                                    Civil Action No.:
                       Plaintiff,

 POWERPLAN, INC.,                                   JURY TRIAL DEMANDED


                       Defendant.



                        SECOND AMENDED COMPLAINT

       Plaintiff Lucasys Inc. alleges as follows upon actual knowledge with

respect to itself and its own acts and upon information and belief as to all other

matters.1

                             NATURE OF THE ACTION

       Defendant PowerPlan is a monopolist with 80%+ share in the market for

Tax Depreciation and Deferred Tax Software for investor-owned, rate-

regulated utilities (the “Tax Software Market”). Substantially all such utilities

require such software to track their costs, assets, taxes, and other data that is

critical for their operations, accounting, compliance, taxes, and, ultimately, to



       1 This amendment to the complaint is being offered to correct certain allegations based on

information learned in discovery and to conform the market definitions to the opinions offered by
Lucasys’ expert witness. It does not seek to update the complaint to include events that have
transpired since the original filing of this case.

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determine the rates the utility may charge to ratepayers. PowerPlan has

dominated this market since launching its once-state-of-the-art software in

1994, and it has had no meaningful competition since it acquired its only

competitor in 2008. Its legacy software framework is largely unchanged over

many years, but it continues to dominate the market because the extreme

switching costs, among other factors, effectively lock-in utility customers.

      This is a classic monopoly case involving a company with clear monopoly

power resting comfortably on its laurels, complacent from lack of competition

on price, quality, innovation, or customer service. When the monopolist

perceives a nascent competitor as a threat, the monopolist abuses its monopoly

power to maintain its dominance rather than compete on the merits.

      PowerPlan is that monopolist, still selling the same core legacy utility

management software it built in 1994 to rate-regulated utilities today. Its

software is expensive, inflexible, unnecessarily complicated, and because it

does not adapt to the changing requirements of rate-regulated utilities, it can

no longer perform some functions for which a rate-regulated utility needs

software in the first place. Given a niche customer base that is locked in by

extreme switching costs, PowerPlan has largely been insulated from

competition even though its customers overwhelmingly hold a negative view of

PowerPlan and its software.

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      Utilities regularly pay six- to seven-figure data consulting costs every

three to five years just to make their data in PowerPlan useable, and then they

use it outside of PowerPlan to perform these basic but fundamentally

important functions. But when data consulting firms sought to provide longer-

term technological solutions for their PowerPlan customers, PowerPlan saw

them as budding threats. It then used its monopoly power to try to exclude

them from the market, selectively claiming the exclusive right to utilities’ data,

making sham legal threats, and ultimately coercing its locked-in utility

customers not to do business with those potential competitors.

      Lucasys is one such nascent competitor. It is a tax consulting and

software development company established in 2018 to provide deferred tax

solutions for rate-regulated utilities. PowerPlan coerced multiple customers to

terminate or reduce the scope of their contracts with Lucasys, which is

crippling Lucasys’ ability to develop modern and comprehensive solutions to

its customers’ PowerPlan-induced problems.

      PowerPlan abused its monopoly power to exclude competitors from the

market by a series of actions that amount to tying, sham assertions of trade

secret misappropriation, exclusive dealing, and refusal to supply. This conduct

violates Section 2 of the Sherman Act. In doing so, PowerPlan coerced the

agreement of customers, so its conduct also violates Section 1 of the Sherman

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Act. PowerPlan’s anticompetitive campaign against Lucasys, among others,

also violates various state laws.    To remedy PowerPlan’s illegal conduct,

Lucasys seeks trebled damages of at least $77.4 million and other relief.

                       JURISDICTION AND VENUE

      1.    This Court has primary subject-matter jurisdiction over this action

under 28 U.S.C. §§ 1331 and 1337(a), and Sections 4 and 16 of the Clayton Act,

15 U.S.C. §§ 15, 26 because this action arises under the antitrust laws of the

United States.

      2.    This Court has supplemental jurisdiction over the state law claims

of the complaint under 28 U.S.C. § 1367 because they arise from the same

nucleus of operative facts as the federal claims such that they form part of the

same case or controversy.

      3.    PowerPlan, Inc. is a Delaware corporation with its principal place

of business at 300 Galleria Parkway, Suite 2100, Atlanta, Georgia 30339.

PowerPlan may be served via its registered agent, Corporation Service

Company, 40 Technology Parkway South, Suite 300, Norcross, Georgia 30092.

PowerPlan is subject to personal jurisdiction in the State of Georgia under

O.C.G.A. § 9-10-91(1) and (2) because it resides in Georgia, transacts business

in Georgia, and committed tortious acts in Georgia.



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      4.      Venue is proper in the Northern District of Georgia under 28

U.S.C. § 1391(b) and 15 U.S.C. §§ 15, 22 because PowerPlan resides in this

district and can be found in this district.

                                   PARTIES

      5.      Plaintiff Lucasys Inc. is a small, start-up tax consulting and

software development company that provides data consulting and deferred tax

solutions to regulated utilities, including assisting those utilities with using

the utilities’ own data. Lucasys’ principal place of business is in Cumming,

Georgia.

      6.      Defendant PowerPlan, Inc. is the leading provider of Tax

Depreciation and Deferred Tax Software for investor-owned rate-regulated

utilities (“IOU Tax Software”). PowerPlan’s principal place of business is in

Atlanta, Georgia. According to PowerPlan, 99% of investor-owned utilities in

the United States use its software. PowerPlan is owned by Roper Technologies,

a $42 billion publicly traded company.

                       SUBSTANTIVE ALLEGATIONS

           PowerPlan Develops a Monopoly for IOU Tax Software

      7.      To assist with management of their operations, nearly all investor-

owned, rate-regulated utilities use software systems purpose-built for the

industry, i.e. “IOU Tax Software.” IOU Tax Software allows utilities to store,

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access, analyze, and compute their data for various operational, accounting,

regulatory, and tax purposes related to fixed assets—many of which are unique

to the industry—vital to the utilities’ regulatory compliance and, ultimately,

their bottom lines.

      8.      PowerPlan’s software is built as a single application and

centralized database with different “modules” or “suites” available to

customers for specific functions. Over time, PowerPlan has added modules to

the software, which customers can separately license. When customers log in

to the application, they can access their purchased modules from a horizontal

toolbar at the top of the application window, allowing them to perform certain

tasks related to their data.

      9.      For example, PowerPlan offers three income tax related modules:

PowerTax, Provision, and Tax Repairs as part of its “Income Tax Suite.”

PowerTax is supposed to allow utility customers to compute tax depreciation

and deferred income taxes from their underlying data.

      10.     Other PowerPlan suites comprise modules for property tax, lease

accounting,    fixed   assets,   rate   case   management,   asset   investment

optimization, capital planning and forecasting, and project portfolio cost

management.



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      11.    In 1994, PowerPlan’s software had an early-mover advantage.

PowerPlan quickly dominated the market as utility after utility began using

its IOU Tax Software. By the late 2000s, after it acquired its only competitor,

PowerPlan was the only company offering IOU Tax Software and became a

true monopolist.

      12.    Today, 80% of investor-owned, rate-regulated utilities use

PowerPlan’s IOU Tax Software, which remains the only full-suite product

available in the market. The other 20% is comprised of small utilities that

make do without IOU Tax Software, generally by using other accounting

systems and professional services to perform manual calculations. Larger

utilities—which make up almost the entire market—must use IOU Tax

Software because of the scale and complexity of their data.

       PowerPlan Stops Innovating and Consultants Fill Gaps in

                          PowerPlan’s Software

      13.    Having achieved its monopoly, PowerPlan, like many monopolists,

stopped innovating to meet its customers evolving needs. Accordingly,

PowerPlan’s IOU Tax Software cannot perform some core functions that

utilities require.

      14.    This is because (1) PowerPlan’s legacy software is built on an

outdated coding language, and (2) PowerPlan has had little incentive to update

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its software because its customers have no other option for IOU Tax Software,

which they must purchase.

      15.   To perform core functions beyond the capabilities of PowerPlan’s

IOU Tax Software, utilities must hire consultants to write custom code

extensions, provide data-consulting services, and integrate their PowerPlan

data with other applications, among other tasks. Typically, utilities require

these services every three to five years, costing them hundreds of thousands or

even millions of dollars.

      16.   Accordingly, by the early 2010s, the gaps in PowerPlan’s IOU Tax

Software had spawned a related market in which consultants provide these

Tax Depreciation and Deferred Tax Services (the “Tax Services Market”).

      17.   Lucasys, several third parties, and PowerPlan itself offer Tax

Depreciation and Deferred Tax Services (“Tax Services”). When these services

are required, a utility will frequently issue a request for proposal seeking bids

from multiple consultants and hire the consultant that submits the most

competitive bid. Utilities judge bids based on various factors, including the

expertise and track records of the consultants, the services offered, and the

overall price or value.

      18.   PowerPlan is largely content with the existence of the

Supplemental Management Service market even though PowerPlan lacks a

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monopoly in it, for at least two reasons. First, PowerPlan derives additional

revenue by providing Tax Services over and above the fees it charges customers

for use of its IOU Tax Software. Second, the availability of Tax Services

reduces pressure on PowerPlan to invest substantial money into updating its

IOU Tax Software to meet all its customers’ needs. And the band-aid that is

the Tax Services Market reduces the urgency for customers to demand either

improvements from PowerPlan or entry of a new competitor into the Tax

Software Market.

                 Tax Code Changes Require Tax Services

      19.   As utilities’ needs evolve—but PowerPlan’s software remains

mostly static—new Tax Services are needed. One crucial area where

PowerPlan’s IOU Tax Software fails to meet utilities’ needs is related to tax

fixed assets and deferred taxes, which in turn affect the utilities’ rates.

      20.   Under traditional rate regulation, utilities are permitted to charge

rates to recover their costs of providing service plus a reasonable rate of return.

To gain approval of their rates, utilities submit rate cases to the regulators of

their jurisdictions, which are determined by a formula that calculates a

revenue requirement based on data points including investor-supplied capital,

the authorized rate of return, and operating costs. Rates for different types of

ratepayers are then derived from the revenue requirement.

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      21.   The Tax Cuts and Jobs Act of 2017—the first major federal tax

reform legislation since 1986—made changes to the tax code with significant

tax and rate-case implications for investor-owned utilities. The tax code

changes that became effective in 2018 decreased the tax rate for utilities from

a maximum of 35% to a flat 21% and resulted in a reduction of “Accumulated

Deferred Income Tax Liabilities and Assets” on their books. Because utilities

are typically rate-regulated on a cost-plus-reasonable-rate-of-return basis as

described above, they must share beneficial income tax changes with

ratepayers based on complicated state and federal rules unique to rate-

regulated utilities which, in many cases, vary by jurisdiction and are

constantly subject to change.

      22.   In fact, many jurisdictions issued orders directing utilities to

calculate the effects of the 2018 tax reforms on existing rates or tariffs,

including differences caused by the income tax rate reduction and the effect of

deferred taxes. Jurisdictions have required individual utilities to return

previously accumulated excess deferred tax benefits back to ratepayers using

a variety of amortization methodologies. The required amortization

methodologies are applied to various components of deferred taxes based on

utilities’ and commissions’ interpretations of the tax law, and the subsequent

facts, circumstances, and negotiations relevant to each utility. The evolving

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interpretations and jurisdictional application of legislative requirements have

created a complex and dynamic regulatory and compliance environment.

         23.   PowerPlan’s legacy software does not provide an adequate solution

to this tax and ratemaking problem. Indeed, it does not afford utilities the

ability to configure and implement the new amortization requirements because

it was built for a static, pre-2017 version of the tax code that predated

PowerPlan. And because it is based on an archaic coding language,

PowerPlan’s IOU Tax Software does not even manage the utilities’ data such

that it can simply be exported to make the calculations elsewhere.

         24.   Instead, to even use their PowerPlan-based data for the types of

calculations that must be done to account for the new tax code changes, utilities

must obtain Tax Services to assess data quality, completeness, and accuracy,

and then cleanse and remediate the data to make it usable, i.e. “Deferred Tax

Solutions.”

         25.   Lucasys,   along   with   one   other   firm,   Regulated   Capital

Consultants, are PowerPlan’s primary competitors providing these Deferred

Tax Solutions, though there are also a few individuals who are former

PowerPlan employees that provide such consulting services on some limited

basis.



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      26.   As in the Tax Services Market in general, PowerPlan has been

content competing with other consultants to provide Deferred Tax Solutions.

     Lucasys Disrupts the Status Quo by Offering New Software

      27.   Lucasys was founded in 2018 by Vadim Lantukh, who was

previously employed by PowerPlan but left in 2013. Daniel Chang and Stephen

Strang joined Lucasys as co-founders in 2019 and were also previously

employed by PowerPlan but left in 2014 and 2015, respectively. Before working

at Lucasys, each worked for employers other than PowerPlan where they

obtained additional experience in software development, business consulting,

and tax advising. Lucasys provides subject-matter expertise to utility

customers to help with their data issues, primarily for the purpose of

facilitating the computation of deferred tax obligations and changes based on

the new tax code.

      28.   Lucasys was founded not only to provide Deferred Tax Solutions,

but also to provide long-term solutions to replace the need for consultants with

software. No other existing software accounts for the changes required by the

tax code amendments, so Lucasys has identified an underserved market and a

unique solution.

      29.   Accordingly, Lucasys provides both consulting services and

technological solutions to its customers. Lucasys ultimately expects to largely

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replace consulting services with new Software-As-A-Service (SAAS) solutions

that negate the need for manual data assessment, cleansing, and remediation.

      30.   Lucasys has thus far developed three technological solutions.

              a. First, it has developed cloud-based software that makes

deferred tax computations based on the 2018 federal tax changes as applied to

a customer’s data. The software works directly with the customer’s data (not

through PowerPlan’s system) and is rules-driven, which means that it can be

used dynamically to account for future tax changes or the treatment of tax

changes by rate regulators. Existing tools in the market, including PowerPlan’s

PowerTax, are static and do not account for these changes.

              b. Second, Lucasys developed Copilot, which is a business

process automation tool. Copilot allows customers to configure steps to

processes between different data sources (including PowerPlan and utilities’

other financial systems) that can be automated, saving the hundreds of

thousands of dollars a year it would cost to continue performing those tasks

manually.

              c.   Third, Lucasys developed a toolkit that contains several

small applications, including an ARAM calculator, an audit tool for

computations, a lease payment calculator, and an application that automates



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a variety of data-related tasks regularly performed by consultants. These tools

work directly with the customer’s data, not through PowerPlan’s system.

      31.   Absent    PowerPlan’s    anticompetitive    conduct,   Lucasys    is

positioned to begin competing more broadly with PowerPlan in the             Tax

Software Market by identifying customers’ unmet needs relating to their data

and then building solutions that permit customers to use their data more

efficiently and effectively. Eventually, if able to compete without illegal

obstruction, Lucasys would be able to provide utility customers with a

replacement IOU Tax Software suite. This would be an alternative to

PowerPlan’s product in the Tax Software Market.

      32.   Rather than take the traditional software development approach,

Lucasys seeks to identify its clients’ challenges and needs and then create

solutions in the context of its existing engagements, which it can then deploy

more broadly in the market. The power of the engine that underlies Lucasys’

deferred tax tool will, with additional build-out and maturity, eventually allow

it to compete with more PowerPlan modules and ultimately allow utilities to

replace PowerPlan altogether.

      33.   The information, knowledge, and technical skill of Lucasys’

founders and employees is general knowledge about software as well as tax

and accounting regulations and their effects on the rate-regulated utility

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industry; they are not confidential nor subject to any confidentiality

agreement. None of Lucasys’ work entails the use of PowerPlan trade secrets,

and none of its software uses PowerPlan source code, trade secrets, or other

proprietary information.

      34.   When performing work for a customer, Lucasys accesses a

customer’s data using the only available methods, and in the same manner as

its customers, agents, and other service providers, including data accessed

through the PowerPlan software. When accessing the data, Lucasys acts as an

agent of its customer and does so with the customer’s prior and express

authorization. It does not access any source code, trade secrets, or other

proprietary information in doing so.

                  PowerPlan Punishes Nascent Competitors

      35.   PowerPlan learned about Lucasys during a competitive bidding

process for a mutual utility customer, AEP, who uses PowerPlan software and

had been using Lucasys for data consulting services. AEP issued a request for

proposals to Lucasys, PowerPlan, and others to provide a wide scope of

consulting services and technology development, including a major deferred

tax software component. The solution that AEP sought—because PowerPlan’s

software was inadequate and of poor quality—involved building a full software

suite around taxes and, more specifically, deferred taxes. The software suite

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would have replaced and expanded upon an existing PowerPlan module called

PowerTax.

      36.   Both PowerPlan and Lucasys submitted bids, and Lucasys’ bid was

selected for the contract. When PowerPlan discovered that Lucasys had

submitted a competing bid, it sought information from AEP about the

consulting work that it had originally hired Lucasys to perform.

      37.   After learning that Lucasys is developing software in addition to

providing Tax Services, PowerPlan took steps to quash the nascent threat to

its monopoly in the Tax Software Market.

      38.   On October 30, 2019, PowerPlan sent a demand letter to Lucasys

and its co-founders, Mr. Lantukh, Mr. Chang, and Mr. Strang. The letter

asserted—falsely—that they had misappropriated trade secrets obtained

during their employment with PowerPlan several years before. PowerPlan did

not describe those asserted trade secrets with any particularity.

      39.   PowerPlan further asserted that Lucasys was developing a

competing software solution using these vaguely referenced trade secrets.

      40.   PowerPlan’s assertions were, in fact, made in bad faith and solely

as an attempt to block Lucasys from offering or providing its services to utility

customers because PowerPlan views Lucasys as a competitive threat, as

Lucasys does not limit itself to consulting services; it is building a technology

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solution that will—if it is not stopped—threaten PowerPlan’s cozy monopoly

profits.

      41.   PowerPlan demanded that Lucasys and its members cease-and-

desist the alleged use and disclosure of these falsely asserted trade secrets,

return all such information, cease-and-desist efforts to design, develop,

market, and sell Lucasys software unless it could prove it was independently

developed, cease-and-desist consulting for all PowerPlan customers unless it

agreed to cease-and-desist developing competing software, and even to change

its logo and slogan.

      42.   Moreover, PowerPlan, evidencing its anticompetitive intentions

and mode of doing business, proposed an unlawful market-allocation

agreement under which PowerPlan would “be open” to Lucasys competing with

consulting services only if Lucasys agreed to discontinue its software

development.

      43.   In fact, while Lucasys has not misappropriated trade secrets, it has

also not yet developed a software product that could be fully substituted for

PowerPlan’s IOU Tax Software. Rather, Lucasys was developing software that

filled gaps in what PowerPlan’s software does: tools focused on automating

processes and creating better integration and reach from existing PowerPlan

software. Lucasys developed these tools because PowerPlan fails to provide its

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customers with a software solution that can address the challenges of data

management, including effects on data presented by the Tax Cuts & Jobs Act.

      44.   This is not the first time PowerPlan has attempted to prevent

perceived competition by asserting baseless trade secret misappropriation

claims. It made similar threats regarding Regulated Capital Consultants

(RCC), which employs numerous former PowerPlan employees, because it

perceived RCC’s custom code editing and extension coding services as a threat.

It also recently threatened an individual consultant, Doug Johnson.

      45.   Nevertheless, in an act of good faith, Lucasys sought to reassure

PowerPlan that it was not, in fact, developing software based on any

PowerPlan trade secrets. Lucasys provided substantial information to

PowerPlan showing exactly what it was doing and how. Lucasys has neither

used nor misappropriated any PowerPlan trade secrets. Nor does Lucasys need

to utilize any PowerPlan trade secrets to compete in the Tax Services Market

or the Tax Software Market.

      46.   Without any good-faith basis to embroil Lucasys in trade secret

misappropriation litigation, PowerPlan chose another path: it sought to

ascertain which customers aside from AEP had hired Lucasys. PowerPlan then

threatened those utility customers not to do business with Lucasys, baselessly

citing contractual confidentiality obligations, asserting the exclusive right to

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restrict access to the utilities’ own data, and falsely claiming that Lucasys

misappropriated PowerPlan’s nondescript trade secrets, implicitly threatening

to entangle these customers in litigation. PowerPlan wields a large stick in its

threats because its software performs critical accounting functions for its

customers and, lacking an alternative, the utilities must purchase PowerPlan’s

software. So utilities must take even baseless claims from PowerPlan

seriously, or risk losing their software.

      47.   NextEra. NextEra engaged Lucasys for tax fixed-asset related

services including data remediation, cleansing, and transformation and for the

development and deployment of technology, Lucasys Copilot, which would

allow NextEra to consolidate its non-regulated entities into the PowerPlan

software. Non-regulated entities have different requirements than rate-

regulated utilities, and the PowerPlan software was not capable of meeting the

unique requirements of partnership depreciation and acquisitions of new

assets and entities. As a result, NextEra had maintained its non-regulated

entities in a different system.

      48.   PowerPlan successfully coerced NextEra to terminate its contract

with Lucasys by falsely claiming that Lucasys misappropriated PowerPlan’s

trade secrets in the course and scope of its work for NextEra and that

PowerPlan had taken legal action against Lucasys (it had not).

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      49.   At the time of termination, Lucasys was still completing the

service phase of the contract and had just begun the design phase for the

Copilot implementation. On information and belief, PowerPlan performed the

remaining service work and NextEra was required to forego consolidating its

non-regulated entities into the PowerPlan system as it had desired.

      50.   Liberty Utilities. Liberty Utilities engaged Lucasys to provide

advisory services related to tax-fixed assets and assistance with consolidating

and standardizing tax processes with respect to the global design phase of a

transformation initiative. Lucasys advised Liberty Utilities that it should

implement PowerPlan’s full income tax suite as the only solution available for

their regulated requirements.

      51.   Nonetheless, PowerPlan successfully coerced Liberty Utilities to

terminate its contract with Lucasys even though, before termination, Liberty

Utilities expressed concerns to Lucasys that PowerPlan’s tactics deprived it of

the most efficient and cost-effective provider in the market capable of

completing the project. When Liberty Utilities asked PowerPlan whether

Liberty Utilities could utilize Lucasys for other tax fixed-asset services in the

future, PowerPlan stated that Liberty Utilities would face legal risk if Lucasys

were to develop a software product that competes with PowerPlan’s products.



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      52.   AEP. After PowerPlan initially failed to provide adequate services

for AEP in support of its tax data and processes, AEP engaged Lucasys to

perform data consulting services and support its overall tax return and year-

end provision calculations. These services were an interim solution to the

myriad problems with PowerPlan’s software until such time as AEP could

execute an RFP to replace PowerPlan’s PowerTax module, which could not

meet AEP’s needs.

      53.   In 2019, AEP issued a request for proposals for a project with a

large scope of work for services and technology, including a major tax software

development component: the project involved building a full suite around

taxes, with a specific focus on deferred taxes. Both PowerPlan and Lucasys

submitted bids. AEP selected Lucasys’ bid.

      54.   PowerPlan first threatened AEP regarding its contract with

Lucasys in phone discussions, and AEP asked PowerPlan to make its vague

statements about impropriety by Lucasys in writing and with specificity.

PowerPlan instead sent a letter demanding AEP restrict access to AEP’s

systems and data based on its view that Lucasys might appropriate

proprietary information and develop competitive solutions. As explained in

Paragraphs 33–34, this is baseless because neither Lucasys nor any other

customer or third party can obtain proprietary information simply by accessing

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customer data through PowerPlan’s software. Nevertheless, AEP ultimately

delayed execution of the contract, stating that it would need to resolve its legal

discussion with PowerPlan before starting work with Lucasys. Although AEP

did not terminate its relationship with Lucasys, PowerPlan successfully

coerced AEP to delay the technology component of the project by at least 12

months and narrow the scope of Lucasys’ contract to services only.

      55.   PowerPlan has attempted, thus far without success, to coerce

another customer to terminate its contract with Lucasys, which covers project

management and services relating to upstream asset accounting and

processes, with some work involving deferred tax processes. The customer has

shared its position that: (1) it owns its data and can hire whoever it wants to

access it; (2) it would suffer substantial harm if it could not provide Lucasys

with access to the data to perform the contracted work; and (3) PowerPlan’s

vague claims about confidential information lacked veracity and were

insufficient. Nevertheless, PowerPlan responded with more direct threats and,

thus, Lucasys’ contract remains at risk.

      56.   With each of these customers, PowerPlan asserted a reading of its

agreements with the utilities under which it has the exclusive right to restrict

who can access utilities’ data and threatened the customers with litigation if

they were to allow Lucasys access to the data. PowerPlan also directly or

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implicitly threatened that it will cancel the software license agreements or

withhold support for customers who work with Lucasys.

      57.   As a result of PowerPlan’s unlawful interference with Lucasys’

contracts and business relationships, two of four of Lucasys’ major utility

customers terminated their relationships with Lucasys for fear of litigation

and other punitive measures; one of four reduced the scope of Lucasys’ contract

to exclude a substantial technology component (more substantial than all the

other contracts) such that Lucasys is impeded from developing technology that

competes with PowerPlan’s software; and one contract remains at risk.

      58.   Moreover, Lucasys learned from multiple sources in June and July

2020 that PowerPlan intends to send letters to all of its customers asserting,

falsely, that Lucasys is misappropriating PowerPlan’s trade secrets. Notably,

by telling certain Utility customers that PowerPlan is going to inform all utility

customers not to do business with Lucasys, PowerPlan is coordinating a

boycott of Lucasys among utilities. Regardless of whether PowerPlan sent the

letters or ends up sending the letters, by sharing with customers that it plans

to do so, it is connecting the hubs in a hub-and-spoke conspiracy to boycott

Lucasys. Each can feel comfortable in not doing business with Lucasys,

knowing that other utilities are doing the same.



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      59.   These actions have harmed Lucasys in multiple ways. Not only has

Lucasys lost revenue from the cancelled contracts and from future

opportunities with other customers, the cancelled contracts and foreclosed

future opportunities have also harmed Lucasys’ ability to develop innovative

software that can compete with PowerPlan’s legacy system. And PowerPlan’s

actions have threatened Lucasys’ ability to gain other utility customers.

      60.   Lucasys’ customer contracts help it develop that software in

several ways. They provide revenue that allow Lucasys to invest in research

and development efforts. They also provide Lucasys with information about

their customers’ needs and real-time data about what solutions are most

effective. Lucasys needs access to its customers’ data to develop software that

can effectively use the data to accomplish its customers’ business objectives.

Indeed, customers’ data is an important and powerful medium for customers

to communicate their complex business requirements to Lucasys, and access

to that data is required for Lucasys to design and develop solutions to meet

those requirements.

      61.   PowerPlan, through its unlawful anticompetitive conduct, has

successfully blocked Lucasys’ ability to obtain sufficient scale to be able to

(1) implement a software solution in the Tax Services Market; and (2) enter

the Tax Software Market with a competing software product. Indeed, through

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the same tactics, PowerPlan has successfully stopped all similar software

threats to its monopoly.

      62.   Software competition in the Tax Services Market is the most likely

route for a potential competitor in the Tax Software Market to achieve

sufficient scale to threaten PowerPlan’s monopoly. Thus, PowerPlan’s modus

operandi of allowing consulting competition in the Tax Services Market but

thwarting through anticompetitive conduct all software competition in that

market, effectively protects its monopoly in the Tax Software Market from

competition or potential competition.

      63.   Lucasys’ existing customers were not the only ones to whom

PowerPlan     communicated     its   sham    concerns    that   Lucasys    was

misappropriating PowerPlan’s intellectual property. PowerPlan reached out

directly to dozens of potential Lucasys customers to claim it had concerns about

Lucasys misappropriating PowerPlan’s trade secrets. In that effort, PowerPlan

targeted the customers with whom PowerPlan believed Lucasys had the

highest chance of making inroads.

      64.   Absent PowerPlan’s anticompetitive conduct, Lucasys will fully

implement a software solution throughout the Tax Services Market, and then

offer an alternative product—which doesn’t currently exist—to customers in

the Tax Software Market. Absent PowerPlan’s anticompetitive conduct,

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customers would ultimately pay less for higher quality products in both

markets.

            PowerPlan’s Asserted Trade Secret Claims Were a Sham

      65.    The purported basis for PowerPlan’s anti-competitive interference

with Lucasys’ existing and potential customers is that it wanted to protect its

“intellectual property,” which consists exclusively of purported trade secrets.

      66.    PowerPlan’s claimed concern about trade secrets was, and

continues to be, an anti-competitive sham. See CVD, Inc. v. Raytheon Co., 769

F.2d 842, 850–51 (1st Cir. 1985) (“[T]he assertion of a trade secret claim in bad

faith, in an attempt to monopolize, can be a violation of the antitrust laws.”).

      67.    Before its dispute with Lucasys, PowerPlan did no formal training

on the contents of its purported trade secrets, and it did not instruct employees

with access to the purported trade secrets to communicate with clients about

appropriate safeguards.

      68.    Before its dispute with Lucasys, PowerPlan did not have formal

policies or other documents setting forth the contents of its purported trade

secrets in any kind of detail. In other words, there was no way for its employees

or customers to know what supposed trade secrets needed protecting, aside

from a generic description in PowerPlan’s form agreements.



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      69.   PowerPlan knew for years that consultants other than Lucasys,

such as Regulated Capital Consultants and Arc-Two Consulting, were

accessing PowerPlan’s software and client databases in the same manner as

Lucasys without a non-disclosure agreement.         PowerPlan did not actively

prevent such access, and in fact, expressly permitted it in some instances.

      70.   In other words, prior to a perceived threat to its monopoly,

PowerPlan did not act as if it had trade secrets.

      71.   Even worse, PowerPlan made the majority (if not all) of

PowerPlan’s purported “trade secrets” available in the public domain.

      72.   After PowerPlan asserted a counterclaim accusing Lucasys of

misappropriation, Lucasys hired a private investigator, Jim Persinger, to

search for and collect publicly available information containing PowerPlan’s

purported trade secrets.

      73.   A declaration from Mr. Persinger, which attaches a large sampling

of the publicly available documents and files, has been filed in this case.

      74.   The Persinger declaration attaches thousands of pages of publicly

available information containing the purported “trade secrets.” Most of the

documents attached to the Persinger declaration are from PowerPlan’s own

website, smart-phone app and YouTube channel.           Others were posted on

publicly available open-source software code repositories, apparently by

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PowerPlan employees, such as its director of architecture and one of its

software engineers.

      75.   Even more information not included with the Persinger

declaration is available from public sources, such as filings by power companies

with public utility commissions, which contain PowerPlan related information.

      76.   A very clear example of the sham nature of PowerPlan’s trade

secrets claims can be found in Paragraph 36 of Powerplan’s Counterclaim [Dkt.

36 at 32, ¶ 36.]

      77.   In that paragraph, PowerPlan alleges that Lucasys employee

Daniel Chang had access to “PowerPlan Protected Information” at a

“PowerPlan user conference in May 2019.”

      78.   But PowerPlan has not treated the materials from that conference

as a secret. In fact, the PowerPoint presentations from the May 2019 user

conference are freely available for download from both PowerPlan’s own

website and its free smartphone app. See, e.g., Persinger Dec. at ¶ 25, Ex. C.

      79.   Similarly, PowerPlan’s “database structures and models” are

readily discernible from the publicly available documents collected by

Persinger. They are not a secret.

      80.   At the time that it first interfered with Lucasys’ customers and

attempted to coerce Lucasys into refraining from developing software,

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PowerPlan knew that it had no basis for claiming that Lucasys

misappropriated its trade secrets because (i) PowerPlan did not have any trade

secrets, and (ii) PowerPlan had no evidence that Lucasys misappropriated any

of PowerPlan’s purported trade secrets.

      81.   Strong evidence that PowerPlan had no basis for claiming that

Lucasys misappropriated its trade secrets can be found in the deposition

testimony of Brett Bertz, PowerPlan’s Chief Customer Officer at the time.

      82.   Mr. Bertz signed most of the communications directed to Lucasys’

customers and potential customers, including the letter to AEP that

PowerPlan attached as an exhibit to PowerPlan’s motion to dismiss [Dkt. 18-

3].

      83.   Mr. Bertz was deposed in this case on December 2, 2021.

      84.   At that deposition, Mr. Bertz testified as follows about the state of

his knowledge when PowerPlan first contacted Lucasys:

      Q. What evidence or facts were you aware of through the time that
      the cease and desist letter was sent in October 30th of 2019 that
      Lucasys actually used any PowerPlan trade secret or confidential
      proprietary information?

      A. I had no evidence.


      85.   Mr. Bertz testified as follows about his December 2019 letter to

AEP [Dkt. 18-3]:

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      Q.: [D]id you, at the time of this letter, have any facts or evidence
      that Lucasys had misused or misappropriated PowerPlan’s
      confidential information and trade secrets and unfairly used them?

      A: No.

      86.    Mr. Bertz further testified as follows with regard to a second letter

that he sent to AEP in July 2020 [Dkt. 18-2]:

      Q. As of July 17th, 2020 when you sent this letter, were you aware
      of any facts or evidence that Lucasys had misused or
      misappropriated PowerPlan’s confidential information?

      [OBJECTION]

      A. I was not.
      87. In short, from its inception, PowerPlan’s alleged concerns

regarding purported trade secret misappropriation were an anti-competitive

sham.    The sham was aimed at preserving PowerPlan’s monopoly, and it

continues to this day.

PowerPlan Forces Potential Competitors Into Licensing Agreements
           Based on the Sham Trade Secret Assertion

      88.    Another tactic that is sometimes used by monopolists seeking to

prevent competition dovetails with the sham assertion of trade secrets—

forcing potential competitors to enter into licensing or access agreements

under the threat of litigation. See, e.g., CVD, Inc. v. Raytheon Co., 769 F.2d

842, 850–51 (1st Cir. 1985) (“[I]t is well established that an agreement which



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purports to license trade secrets, but in reality, is no more than a sham, or

device designed to restrict competition, may violate the antitrust laws.”)

      89.    After Lucasys filed this case, PowerPlan began seeking to require

consultants in the deferred tax consulting market to enter into “Authorized

Vendor Agreements” (“AVAs”) by which they would be permitted to access

PowerPlan software.

      90.    The purported reason for the AVAs is to permit the consultants

and PowerPlan to protect their trade secrets and intellectual property while

permitting PowerPlan customers to use consultants other than PowerPlan.

      91.    PowerPlan proposed to Lucasys that it enter into an AVA with

PowerPlan.

      92.    PowerPlan proposed the AVA to Lucasys only after one of Lucasys’

customers indicated that it wanted to continue using Lucasys for services.

      93.      The customer was concerned that language in PowerPlan’s

licensing agreement would prevent it from using Lucasys and other

consultants.

      94.    On information and belief, PowerPlan has entered into AVAs with

other deferred tax consulting competitors in recent months.

      95.    The proposed AVA PowerPlan sent to Lucasys extended to far

more than PowerPlan’s intellectual property and trade secrets.

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      96.   Instead, it purports to prohibit the use of any “confidential

information” belonging to PowerPlan for use in developing competing software.

      97.   The draft AVA also gave PowerPlan the right to require a

draconian audit process whenever it had a “belief” that the undefined

“confidential information” had been or was being used to develop competing

software.

      98.   Lucasys indicated that it would agree to enter into an AVA, but

only if the AVA was limited to protecting each party’s “source code and trade

secrets.”   PowerPlan declined the counteroffer—insisting that the AVA’s

restrictions extend beyond legally protected trade secrets, presumably

including what PowerPlan contends is confidential information that is actually

publicly available.

      99.   In other words, the AVA is a sham.       It was designed to give

PowerPlan an even greater ability to thwart software competition than it has

under trade secret law.

      100. Lucasys cannot enter into an AVA that essentially forecloses it

from developing software that competes with PowerPlan based on the false

premise that PowerPlan is protecting intellectual property.

      101. Such an agreement would be illegal. See CVD, Inc., 769 F.2d at

850–51.

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                           RELEVANT MARKETS

      102. This case involves two distinct but related markets: (1) the Tax

Software Market; and (2) the Tax Services Market.

                         The Tax Software Market

      103. To assist with management of their operations, including tracking

and reporting related to fixed assets for tax purposes, nearly all investor-owned

rate-regulated utilities use software systems purpose-built for calculating fixed

asset depreciation and deferred income taxes, i.e. IOU Tax Software. IOU Tax

Software allows utilities to store, access, analyze, and compute their data for

various tax purposes related to fixed assets—many of which are unique to the

industry—along with supplemental solutions necessary to perform these

functions.

      104. The rate-regulated utility industry is unique in that there are

specific data inputs, processes, and data outputs that relate to the asset-

intensive nature and highly regulated landscape of the industry.

      105. For most investor-owned rate-regulated utilities, there is no

economically viable substitute for IOU Tax Software. Other processes,

including industry-agnostic tax software, enterprise resource planning (“ERP”)

and enterprise asset management (“EAM”) systems, in-house manual

solutions such as Microsoft Excel, and third-party service providers, are unable

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to replicate the functionality of IOU Tax Software needed by the majority of

investor-owned utilities. While a few small-scale utilities can manage their

operations without IOU Tax Software—generally through use of one of these

other systems or manual professional services—these processes would be

overly cumbersome and expensive for all but the smallest utilities, who lack

the data scale and complexities of larger utilities. Accordingly, there is a

cognizable market for IOU Tax Software, i.e. the Tax Software Market.

     106. PowerPlan has monopoly power in the          Tax Software Market

because, according to PowerPlan, the vast majority of investor-owned, rate-

regulated utilities use PowerPlan’s IOU Tax       Software, which is called

PowerTax. PowerTax is the only comprehensive, full-suite product currently

available in the Tax    Software Market.     Lucasys expects that, but for

PowerPlan’s anticompetitive conduct, it would have deployed its own

competitive solutions that would allow utilities the choice to replace their

current PowerTax system. Indeed, before PowerPlan interfered, Lucasys’

contract with AEP included the development of software that would potentially

replace PowerTax. Lucasys has also demonstrated its own tax depreciation and

deferred tax software for other utilities as a replacement for PowerTax.

Potential customers have expressed a reluctance, however, to engage with

Lucasys because of PowerPlan’s threats and the existence of this lawsuit.

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      107. There are high barriers to entry in the Tax Software market. Not

only will a new purpose-built IOU Tax Software product require substantial

resources to develop, it requires deep, specialized knowledge of the industry

and understanding of utilities’ needs based on experience and access to

utilities’ real-time data to build and test the software. Thus, any competitor is

likely to come from the Tax Services market.

      108. PowerPlan’s monopoly power is reinforced because utility

customers cannot freely switch to another IOU Tax Software provider—even

if one were available—as it is extremely expensive and disruptive for a utility

to switch to a different system. These switching costs include substantial

implementation costs, information technology commitments and risks,

disruptions and risks to business and accounting processes, employee

retraining, audit concerns and risks, regulatory concerns and risks, all of which

can have material consequences that substantially affect the utilities’ financial

position and business operations.

      109. PowerPlan’s antiquated software system, which does not and

cannot interact with modern software systems without customized interfaces

requiring substantial time and effort to develop and manual modifications to

the data structure is a further obstacle to switching. To switch to a different

IOU Tax Software provider and transfer its existing data, a customer would

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need to develop or obtain these customized interfaces. Accordingly, while

PowerPlan’s offering in 1994 was a first-of-its-kind digital IOU Tax Software

that enjoyed widespread adoption among utility customers, it is now

handcuffing those same customers, who are effectively locked-into an

antiquated system.

      110. Indeed, PowerPlan still has an inordinately large market share

over 25 years after launching its product despite widespread customer

dissatisfaction. The fact that PowerPlan prioritizes maximizing profits over

maintaining a high product quality further demonstrates the extremely high

switching costs and its monopoly power, as it has little to no incentive to invest

in research and development or product updates since investor-owned utilities

have virtually no alternative Tax Depreciation and Deferred Tax Software

solution.



                         The Tax Services Market

      111. The conditions that have locked in and handcuffed utility

customers has long allowed PowerPlan to enjoy a monopoly in the Tax

Software Market, resting on its laurels without significant price competition

and other market forces that would require it to innovate and improve the

quality and functionality of its product to meet its customers’ evolving needs.

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When competition does arise, PowerPlan engages in anticompetitive conduct

to stop it, rather than providing a better product or better prices. As a result,

PowerPlan still provides fundamentally the same legacy system as it

introduced in 1994, which is host to significant data management issues and

which lacks necessary functionality to (1) maintain utility data with the

required accuracy, cleanliness, and integrity to meet modern standards for

various accounting, tax, and regulatory purposes, and (2) to perform core

accounting, tax, and regulatory functions that are now routinely required of

rate-regulated utilities.

      112. Thus, PowerPlan’s software alone cannot meet the data

management requirements for rate-regulated utilities. Just to make their data

useable for core processes, utilities must hire consultants every three to five

years, typically costing them hundreds of thousands or even millions of dollars,

and then use other software or services to perform certain core processes with

their data.

      113. PowerPlan’s inadequacy was compounded by the 2017 Tax Cuts

and Jobs Act, which changed tax rates for rate-regulated utilities and,

ultimately, had significant rate case implications. Because rate-regulated

utilities’ rates are set through state and/or federal ratemaking processes that

utilize    a   cost-plus-reasonable-rate-of-return   formula,   rate   calculations

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necessarily take tax costs including asset depreciation and deferred taxes into

account. State public utility commissions and the Federal Energy Regulatory

Commission each have developed their own set of rules, which means that

utilities require a dynamic solution based on operational, accounting, and rate-

making decisions that are being made in real time.

      114. Thus, PowerPlan’s failure to evolve combined with its monopoly

power to exclude competition have spawned a second related market: the Tax

Services Market for aftermarket performance management and data solutions.

      115. This market comprises the consulting services needed to perform

critical processes that PowerTax cannot perform.

      116. For example, PowerTax cannot track excess or deficient

accumulated deferred taxes and the corresponding regulated liability or asset

by tax event. It cannot track monthly amortizations and balances or

simultaneously compute ARAM and Reverse South Georgia (“RSGM”)

amortizations on the same vintage assets at the same time, and it lacks

reporting flexibility.

      117. The Tax Software Market is distinct from the Tax            Services

Market. Tax Services cannot replace Tax Software and, at least for the time

being, no available IOU Tax Software eliminates the need for Tax Services.

Utility customers must purchase products and services from both markets.

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      118. At least four firms provide Tax Services, including PowerPlan

itself, Regulated Capital Consultants, and Lucasys. However, the capabilities

and areas of focus for the firms vary. Thus, competition has naturally

developed to solve these utility needs arising from tax and other developments

that have occurred since the 1980s.

      119. In a response to a significant and non-temporary change of pricing

in the Tax Services Market, utilities would not have any alternatives outside

this market. There are no current products or options in the Tax Software

Market, for example, that would satisfy the business and regulatory

requirements for the utilities. And the Tax Services Market encompasses the

companies that provide these solutions, in the form of consulting and software.

By the nature of their businesses, these customers have no choice but to engage

providers of these supplemental products or services because they must follow

extensive regulations.

                         Relevant Geographic Market

      120. Demand in the relevant markets is national, as substantially all

investor-owned, rate-regulated utilities in the United States require

performance management and data systems and supplemental solutions to

effectively meet their operational, accounting, tax, and regulatory obligations.

These customers can turn to companies anywhere in the United States to meet

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their needs. For regulatory reasons, these customers cannot practically turn to

companies outside of the United States to fulfill their requirements. Thus, the

geographic scope of the relevant markets is the United States.

               HARM TO PLAINTIFF AND COMPETITION

      121. PowerPlan’s actions were intended to perpetuate its monopoly by

preventing its perceived emerging competitors from providing solutions to

utility customers in the marketplace. This has harmed competition in the Tax

Software Market because, as described above, PowerPlan has 80%+ share in

this market, and its conduct has severely curtailed Lucasys’ ability to develop

a competing product and deprived utility customers of the ability to use and

access their data as they see fit.

      122. PowerPlan’s actions also harmed competition in the Tax Services

Market by depriving utility customers of a choice in obtaining services

necessary to perform core regulatory, tax, and accounting functions. By

impeding competition of Lucasys and others, PowerPlan creates confusion

about what service providers are available to utility customers and motivates

the customers to hire PowerPlan for Tax Services and thus avoid the risk of

their services providers being denied access to necessary data. The exclusion

of such competitors also reduces output in these markets, which in turn raises

prices for utility customers.

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      123. In addition, as described above, PowerPlan has made threats that

have coerced three of four Lucasys customers to terminate or reduce the scope

of their contracts with Lucasys as their chosen provider, and the fourth

remains subject to coercive pressure from PowerPlan. But for these threats,

rate-regulated utilities would have a legitimate choice among suppliers of Tax

Services—including choices, like Lucasys, who provide higher quality services

and greater value to customers.

      124. PowerPlan’s threats and other anticompetitive conduct has caused

rate-regulated utilities to obtain substantially fewer solutions from Lucasys

than they otherwise would have, including those services that were terminated

after PowerPlan’s threats as detailed above. Without PowerPlan’s actions,

Lucasys would have achieved sufficient economies of scale in developing its

technological solutions that would allow it to further reduce its prices and

improve its product and service offerings to rate-regulated utilities so it could

effectively compete in both the supplemental markets and, ultimately, the Tax

Software Market itself.

      125. PowerPlan’s approach and strategy of allowing consulting

competition but blocking software competition in the Tax Services Market

directly harms competition and consumers in that market. That is,

PowerPlan’s anticompetitive conduct against Lucasys and other similar

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competitors that seek to offer a software solution directly affects the Tax

Services Market in the following ways: (1) it reduces the choices available to

utility customers by blocking and precluding a software component to this

aftermarket; (2) it raises prices in this market because a software solution

creates automation and efficiency and is a lower-priced solution for utilities;

and (3) it decreases the quality of products and services for utility customers

in this market because a software solution—with or without consulting

services—improves performance and capabilities in this market through

automation and customization. PowerPlan’s tactics threaten to keep utility

customers in the technology dark ages of the 1990s for their utility-

management needs. PowerPlan is using its monopoly power to effectively stop

innovation, so it can continue to collect supracompetitive profits without

investing into improving its product.

      126. By using these illegal actions to maintain its monopoly in the Tax

Software Market and reduce competition in the Tax Services Market,

PowerPlan deprived customers of (1) a nascent competitor in a market where

it is the sole competitor, and (2) a competitive choice and the benefits of a lower-

priced, higher-quality product in the Tax Services Market. These illegal actions

ultimately raise operating costs and reduce efficiency for investor-owned rate-

regulated utilities, which they pass on to end-consumer ratepayers.

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                        INTERSTATE COMMERCE

      127. PowerPlan’s anticompetitive conduct and monopolization affected

interstate commerce because PowerPlan offers and distributes its products and

services to customers throughout the United States, and because Lucasys

offers and distributes its products and services to customers throughout the

United States. PowerPlan’s revenue is more than $150 million annually.

      128. AEP, for example, is a major investor-owned utility in the United

States and has operations delivering electricity to more than five million

customers in 11 U.S. states. PowerPlan’s conduct has increased operating costs

and reduced its efficiency, which in turn will necessarily be passed on to

customers in those 11 U.S. states who pay rates based on AEP’s costs.

                                  COUNT I

                     Monopolization (Negative Tying)
                              15 U.S.C. § 2

      129. Plaintiff incorporates by reference the preceding allegations.

      130. PowerPlan has an approximately 80% share of the Tax Software

Market, giving it monopoly power in that market. PowerPlan enjoys the power

to raise prices or exclude competition.

      131. The Tax Software Market has high barriers to entry. Not only

would entry require major capital investment, it would require real-time and



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ongoing access to customer data. Moreover, utility customers face extremely

high switching costs that effectively lock them in.

      132. PowerPlan      is   maintaining   its   monopoly   power   through

exclusionary tactics, including a negative tying arrangement involving IOU

Tax Software and Tax Services.

      133. IOU Tax Software and Tax Services are separate products and

customers want the freedom to buy those separate products from different

suppliers.

      134. PowerPlan entered into contracts with its customers that contain

de facto provisions that operate as negative tying arrangements by

conditioning the purchase and use of PowerPlan’s IOU Tax Software to an

agreement not to purchase or use products in the Tax Services Market that are

provided by PowerPlan’s perceived competitors. More specifically, PowerPlan

has told customers that they cannot purchase products or services of Lucasys

and others because of the fact that they are perceived rivals in the Tax

Software Market. These provisions unreasonably restrict trade or commerce in

violation of Section 2 of the Sherman Act, 15 U.S.C. § 2, and Section 4 of the

Clayton Act, 15 U.S.C. § 15.

      135. PowerPlan can impose these negative tying arrangements on

customers because of its monopoly power in the Tax Software Market.

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      136. The negative tie affects a substantial volume of commerce—at

least $50 million of a total $100 million—in the Tax Services Market (and/or

the Deferred Tax Solutions Market) by restricting Lucasys and other rivals

from competing in the market.

      137. PowerPlan is using exclusionary tactics because Lucasys is a

potential competitor in the Tax Software Market and PowerPlan wants to

cripple Lucasys before it can enter that market. This demonstrates

PowerPlan’s willful intent to maintain its monopoly through means other than

a superior product, business acumen, or historic accident.

      138. There are no legitimate or procompetitive business reasons for

these acts other than to eliminate a potential competitor. PowerPlan’s actions

are intended to perpetuate its monopoly and destroy potential or emerging

competition in the Tax Software Market.

      139. Through its negative tying arrangements, PowerPlan has injured

competition in the Tax Services Market , as further described in Paragraphs

122–126.

      140. As a proximate result of PowerPlan’s unlawful conduct, Lucasys

has suffered injury to its business or property in an amount to be proven at

trial and automatically trebled.



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                                  COUNT II

                   Monopolization (Refusal to Supply)
                             15 U.S.C. § 2

      141. Plaintiff incorporates by reference the preceding allegations.

      142. PowerPlan has an approximately 80% share of the Tax Software

Market, giving it monopoly power in that market.

      143. The Tax Software Market has high barriers to entry. Not only

would entry require major capital investment, it would require real-time and

ongoing access to customer data. Moreover, utility customers face extremely

high switching costs that effectively lock them in.

      144. PowerPlan      is   maintaining    its   monopoly   power    through

exclusionary tactics, including refusals to supply customers with access to their

own data if those customers purchase Tax Services from Lucasys. These tactics

unreasonably restrict trade or commerce in violation of Section 2 of the

Sherman Act, 15 U.S.C. § 2, and Section 4 of the Clayton Act, 15 U.S.C. § 15.

      145. PowerPlan is using exclusionary tactics because Lucasys is a

potential competitor in the Tax Software Market and PowerPlan wants to

cripple Lucasys before it can enter that market. This demonstrates

PowerPlan’s willful intent to maintain its monopoly through means other than

a superior product, business acumen, or historic accident.


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      146. There are no legitimate or procompetitive business reasons for

these acts other than to eliminate a potential competitor. PowerPlan’s action

are intended to perpetuate its monopoly and destroy potential or emerging

competition in the Tax Software Market.

      147. By refusing to supply customers with access to their own data if

those customers purchase Tax Services from Lucasys, PowerPlan has injured

competition in both the Tax Software Market and the Deferred Tax Services

Market (and/or the Deferred Tax Solutions Market) as further described in

Paragraphs 121–126.

      148. As a proximate result of PowerPlan’s unlawful conduct, Lucasys

has suffered injury to its business or property in an amount to be proven at

trial and automatically trebled.

                                   COUNT III

             Agreement to Restrain Trade (Negative Tying)
                             15 U.S.C. § 1

      149. Plaintiff incorporates by reference the preceding allegations.

      150. IOU Tax Software and Tax Services are separate products and

customers want the freedom to buy those separate products from different

suppliers.




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      151. PowerPlan entered into contracts with rate-regulated utility

customers that contain de facto provisions that operate as negative tying

arrangements by conditioning the purchase and use of PowerPlan’s          Tax

Software system to an agreement not to purchase or use products in the Tax

Services Market that are provided by PowerPlan’s perceived competitors.

These provisions unreasonably restrict trade or commerce in violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1, and Section 4 of the Clayton Act,

15 U.S.C. § 15.

      152. PowerPlan can only impose these negative tying arrangements on

customers because it has appreciable market power in the Tax Software

Market.

      153. The negative tie affects a substantial volume of commerce—at

least $50 million of a total $100 million—in the Tax Services Market and/or

the Deferred Tax Solutions Market by restricting Lucasys and other rivals

from competing in the market.

      154. Through its negative tying arrangements, PowerPlan has injured

competition in the Tax Services Market, as further described in Paragraphs

122–126.




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      155. As a proximate result of PowerPlan’s unlawful conduct, Lucasys

has suffered injury to its business or property in an amount to be proven at

trial and automatically trebled.

                                   COUNT IV

      Agreement to Restrain Trade (Concerted Refusal to Deal)
                           15 U.S.C. § 1

      156. Plaintiff incorporates by reference the preceding allegations.

      157. PowerPlan entered into and engaged in a contract, combination, or

conspiracy in unreasonable restraint of trade in violation of Section 1 of the

Sherman Act by coercing the agreement of PowerPlan customers, including

NextEra, AEP, and Liberty Utilities, not to do business with Lucasys.

      158. PowerPlan’s parallel agreements with the utility customers

substantially foreclosed competition in the relevant markets. The market has

been harmed by depriving customers seeking alternatives to PowerPlan’s

offerings and necessary Tax Services of meaningful competition, which in turn

has forced them to pay supracompetitive prices while receiving lower quality

solutions. PowerPlan has operated as the hub, in a series of hub-and-spoke

agreements, requiring the parties not to do business with Lucasys.




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      159. By entering into these agreements, PowerPlan has injured

competition in both the Tax Software Market and the Tax Services Market as

further described in Paragraphs 121–126.

      160. As a proximate result of these agreements, Lucasys has suffered

injury to its business or property in an amount to be proven at trial and

automatically trebled.

                                  COUNT V

           Agreement to Restrain Trade (Exclusive Dealing)
                            15 U.S.C. § 1

      161. Plaintiff incorporates by reference the preceding allegations.

      162. PowerPlan entered into contracts with its customers that contain

de facto exclusive dealing provisions that unreasonably restrict trade or

commerce in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, and

Section 4 of the Clayton Act, 15 U.S.C. § 15.

      163. PowerPlan interprets its customer contracts to prevent customers

from permitting third-party vendors like Lucasys to access the customers’ data

without PowerPlan’s express or implied permission.

      164. PowerPlan can impose this restriction on customers because of its

market power in the Tax Software Market.




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      165. PowerPlan’s vertical restraints are unlawful because they have led

to increased prices and reduced output in both the Tax Software Market and

the Tax Services Market .

      166. Through its exclusive dealing provisions, PowerPlan has injured

competition in both the Tax Software Market and the Tax Services Market

(and/or the Deferred Tax Solutions Market), as further described in

Paragraphs 121–126.

      167. PowerPlan’s exclusive dealing provisions do not enhance efficiency

or competition in any market. On the contrary, the agreements have produced

only anticompetitive effects.

      168. As a proximate result of these agreements, Lucasys has suffered

injury to its business or property in an amount to be proven at trial and

automatically trebled.

                                 COUNT VI

                         Deceptive Trade Practices
                            O.C.G.A. § 10-1-373

      169. Plaintiff incorporates by reference the preceding allegations.

      170. PowerPlan     has    engaged     in   deceptive   trade practices   by

disparaging Lucasys’ services and business by false or misleading




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representations of fact, and causing confusion and/or misunderstanding of

Lucasys’ services.

      171. PowerPlan is causing confusion to Lucasys’ customers by falsely

representing that (1) PowerPlan has protectable trade secrets in its software,

services, and processes; and (2) that Lucasys is or will misappropriate those

trade secrets if Lucasys’ customers continue doing business with Lucasys or

that Lucasys has already misappropriated PowerPlan’s trade secrets and

included those trade secrets in Lucasys’ product and services.

      172. These deceptive trade practices have caused current and potential

Lucasys customers to cease doing business with Lucasys and to be diverted to

PowerPlan or provide more business to PowerPlan with Lucasys no longer a

competitor.

      173. Customers in the utilities marketplace are confused and

misunderstand whether PowerPlan has protectable trade secrets that Lucasys

is improperly using and whether they can or should do business with Lucasys.

      174. Many customers believe that they may be subject to litigation if

they work with Lucasys while also using PowerPlan’s services or that Lucasys

has already misappropriated PowerPlan’s trade secrets.

      175. Lucasys is entitled to injunctive relief against PowerPlan pursuant

to O.C.G.A. § 10-1-373.

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      176. Additionally, since PowerPlan has willingly engaged in a trade

practice that it knows to be deceptive, Lucasys is allowed to recover its

attorneys’ fees and costs for pursuing its claim and punitive damages under

O.C.G.A. § 10-1-373.

                                 Count VII

                   Tortious Interference with Contract
                          Georgia Common Law

      177. Plaintiff incorporates by reference the preceding allegations.

      178. PowerPlan acted improperly and without privilege when it

contacted Lucasys’ customers or potential customers, that PowerPlan knew

Lucasys had contracted or planned to contract with to provide services, to

(1) threaten   Lucasys’ customers or potential customers if they continued

business with Lucasys in any capacity by aiding and abetting Lucasys’ alleged

misappropriation of trade secrets, and (2) incorrectly stating or implying that

Lucasys misappropriated PowerPlan’s confidential trade secrets.

      179. PowerPlan acted purposely and with malice to injure Lucasys in

PowerPlan’s effort to curtail competition with PowerPlan and have Lucasys’

customers cease doing business with Lucasys based on the false information

PowerPlan disseminated.




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      180. PowerPlan’s actions caused Lucasys’ customers that Lucasys

already had a contractual relationship with to cease doing business with

Lucasys and caused potential customers to not enter into anticipated contracts

for Lucasys’ services.

      181. PowerPlan is a stranger to all of the actual or potential Lucasys

contracts that it interfered with as PowerPlan is not a party to the contract, is

a stranger to the business relationship between Lucasys and its customer, and

PowerPlan is not a beneficiary to any such contract that it interfered with.

      182. Lucasys was injured financially by losing revenue from each

customer or potential customer that ceased doing business with Lucasys

because of PowerPlan’s improper conduct.        Lucasys is entitled to recover

damages in an amount to be determined at trial.

                                  Count VIII

                  Malicious Interference with Business
                         Georgia Common Law

      183. Plaintiff incorporates by reference the preceding allegations.

      184. PowerPlan has intentionally interfered with Lucasys’ business to

cause injury to Lucasys, specifically to put Lucasys out of business.

      185. PowerPlan’s actions have caused harm to Lucasys’ business,

including the loss of customers and its reputation.


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      186. PowerPlan knows that Lucasys has the right to lawfully conduct

its business in competition with PowerPlan, yet PowerPlan has intentionally

and maliciously interfered with Lucasys’ rights.

      187. Lucasys was injured financially by losing revenue from each

customer or potential customer that ceased doing business with Lucasys

because of PowerPlan’s improper conduct.       Lucasys is entitled to recover

damages in an amount to be determined at trial.

                                  Count IX

                            Defamation Per Se
                           Georgia Common Law

      188. Plaintiff incorporates by reference the preceding allegations.

      189. PowerPlan published and disseminated false and defamatory

statements to third parties with the purpose of damaging Lucasys.

      190. These false and defamatory statements include false assertions

that Lucasys misappropriated or intended to misappropriate PowerPlan’s

confidential trade secrets, which could cause Lucasys’ customers to be held

liable for misappropriation of PowerPlan’s trade secrets if they continued to do

business with Lucasys.

      191. Such statements were made with the intent to injure Lucasys.

These statements constitute defamation per se under Georgia law.


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     192. PowerPlan’s statement were intended to and did cause injury to

Lucasys’ business reputation.

     193. As a direct and proximate result of PowerPlan’s false and

defamatory statements, Lucasys has been damaged.

                                    Count X

                              Defamation
                          Georgia Common Law

     194. Plaintiff incorporates by reference the preceding allegations.

     195. PowerPlan has made false, defamatory statements about Lucasys

to third parties by asserting that Lucasys misappropriated or intended to

misappropriate PowerPlan’s confidential trade secrets, which could also cause

Lucasys’ customers to be held liable for misappropriation of PowerPlan’s trade

secrets if they continued to do business with Lucasys. Such statements were

made with the intent to injure Lucasys.

     196. PowerPlan made the false and defamatory statements with

malicious intent to harm Lucasys.

      197. As a proximate result of PowerPlan’s conduct, Lucasys has

suffered substantial and irreparable damage to its reputation and is entitled

to recover from PowerPlan.




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                                 Count XI

           Monopolization (Sham Trade Secret Assertions)
                            15 U.S.C. § 2

        198.     Plaintiff incorporates by reference the preceding allegations.

        199.     PowerPlan has an approximately 80%+ share of the Tax

Software Market, giving it monopoly power in that market. PowerPlan enjoys

the power to raise prices or exclude competition.

        200.     The Tax Software Market has high barriers to entry. Not

only would entry require major capital investment, it would require real-time

and ongoing access to customer data. Moreover, utility customers face

extremely high switching costs that effectively lock them in.

        201.     PowerPlan is maintaining its monopoly power through

exclusionary tactics, including by asserting that Lucasys misappropriated

PowerPlan’s trade secrets with knowledge that (i) no trade secrets existed and

(ii) Lucasys had not misappropriated any trade secrets.

        202.     The sham trade secret misappropriation assertions affect a

substantial volume of commerce—at least $50 million of a total $100 million—

in the Tax Services Market by restricting Lucasys and other rivals from

competing in the market.




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        203.     PowerPlan is using exclusionary tactics because Lucasys is

a potential competitor in the Tax Software Market and PowerPlan wants to

cripple Lucasys before it can enter that market. This demonstrates

PowerPlan’s willful intent to maintain its monopoly through means other than

a superior product, business acumen, or historic accident.

        204.     There are no legitimate or procompetitive business reasons

for these acts other than to eliminate a potential competitor. PowerPlan’s

actions are intended to perpetuate its monopoly and destroy potential or

emerging competition in the Tax Software Market.

        205.     Through its sham trade secret misappropriation assertions,

PowerPlan has injured competition in the Tax Services Market (and/or

Deferred Tax Solutions Market).

        206.     As a proximate result of PowerPlan’s unlawful conduct,

Lucasys has suffered injury to its business or property in an amount to be

proven at trial and automatically trebled.

                                  Count XII

           Monopolization (Sham Trade Secret Licensing)
                           15 U.S.C. § 2

        207.     Plaintiff incorporates by reference the preceding allegations.




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          208.    PowerPlan has an approximately 80% share of the Tax

Software Market, giving it monopoly power in that market. PowerPlan enjoys

the power to raise prices or exclude competition.

          209.    The Tax Software Market has high barriers to entry. Not

only would entry require major capital investment, it would require real-time

and ongoing access to customer data. Moreover, utility customers face

extremely high switching costs that effectively lock them in.

          210.    PowerPlan is maintaining its monopoly power through

exclusionary tactics, including by purporting to license trade secrets or other

intellectual property in the AVA with knowledge that no trade secrets existed

and the AVA would limit the use of information that is not protected by law.

          211.    The sham licensing arrangements affect a substantial

volume of commerce—at least $50 million of a total $100 million—in the Tax

Services Market by restricting Lucasys and other rivals from competing in the

market.

          212.    PowerPlan is using exclusionary tactics because Lucasys is

a potential competitor in the Tax Software Market and PowerPlan wants to

cripple Lucasys before it can enter that market. This demonstrates

PowerPlan’s willful intent to maintain its monopoly through means other than

a superior product, business acumen, or historic accident.

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         213.     There are no legitimate or procompetitive business reasons

for these acts other than to eliminate a potential competitor. PowerPlan’s

actions are intended to perpetuate its monopoly and destroy potential or

emerging competition in the Tax Software Market.

         214.     Through its sham trade secret misappropriation assertions,

PowerPlan has injured competition in the Tax Services Market.

         215.     As a proximate result of PowerPlan’s unlawful conduct,

Lucasys has suffered injury to its business or property in an amount to be

proven at trial and automatically trebled.

                                  Count XIII

                             Punitive Damages

         216.     Plaintiff incorporates by reference the preceding allegations.

         217.     PowerPlan’s tortious acts, as particularized above, show

willful misconduct, malice, wantonness, oppression, or that entire want of care

which raises the presumption of conscious indifference to consequences.

         218.     For example, even though it had no evidence, PowerPlan

willfully and intentionally represented to Lucasys’ customers that it had a

protectable trade secret in its software, services, and processes and that it had

strong reason to believe that Lucasys was using improper access to those trade

secrets to develop its competing software.

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           219.   PowerPlan made those false representations knowing that

they were baseless and with the specific intent to harm Lucasys and its current

and prospective customer relationships.

           220.   As a result of the foregoing misconduct and as particularized

above, Lucasys is entitled to recover punitive damages in an amount to be

determined at trial.

                          REQUEST FOR RELIEF

      WHEREFORE, Lucasys requests that this Court:

      A.     Declare that PowerPlan’s conduct violates 15 U.S.C. §§ 1 and 2;

      B.     Declare that PowerPlan’s conduct violates applicable state law;

      C.     Enter judgment against PowerPlan;

      D.     Award Lucasys treble antitrust damages, as provided in 15 U.S.C.

§ 15, in an amount to be determined at trial, but not less than $77.4 million ;

      E.     Award Lucasys actual damages for its state law claims;

      F.     Award Lucasys punitive damages;

      G.     Award Lucasys pre- and post-judgment interest at the applicable

rates on all amounts awarded, as provided in 15 U.S.C. § 15 and applicable

state law;




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      H.    Award Lucasys its costs and expenses of this action, including its

reasonable attorney’s fees necessarily incurred in bringing and pressing this

case, as provided in 15 U.S.C. §§ 15 and 26;

      I.    Grant permanent injunctive relief to prevent the recurrence of the

violations for which redress is sought in this complaint; and

      J.    Order any other such relief as the Court deems appropriate.

                       DEMAND FOR JURY TRIAL

      Plaintiff Lucasys hereby demands a trial by jury on all claims.


      Respectfully submitted this ___day of ____, 2023

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